Case:17-03283-LTS Doc#:24752-1 Filed:07/14/23 Entered:07/14/23 19:44:53         Desc:
                           Exhibit A Page 1 of 7



                                    EXHIBIT A

    Schedule of Claims Subject to the Five Hundred Eighty-First Omnibus Objection
                                  Case:17-03283-LTS Doc#:24752-1 Filed:07/14/23 Entered:07/14/23 19:44:53                                                   Desc:
                                                             Exhibit A Page 2 of 7
                                                              Five Hundred Eighty-First Omnibus Objection
                                                            Exhibit A-1 - Claims to Be Reclassified and Allowed
                                                                                      ASSERTED                                                       MODIFIED AND ALLOWED

                                                                                         PRIORITY                                                                         PRIORITY
    NAME                          CLAIM #             DEBTOR                              STATUS               AMOUNT          DEBTOR                                      STATUS    AMOUNT

1   COLLAZO NIEVES, LUIS                  2092         Commonwealth of Puerto Rico        503(b)(9)               $7,931.00*   Commonwealth of Puerto Rico              Unsecured          $7,931.00
    JOSE A. ALVAREZ NEGRON
    PO BOX 2525 CMB 22
    UTUADO, PR 00641-0516

    Reason: Claimant asserted administrative priority under 11 U.S.C. § 503(b)(9), but proof of claim is not for goods sold and as such claimant is not entitled to administrative priority.
    The Proof of Claim, documents attached to the Proof of Claim, and/or additional documentation received from the Claimant and/or the Puerto Rico Fiscal Agency and Financial
    Advisory Authority supports a total of $7,931.00 for the Claim, such amount fully liquidates the Claim.
2   DAISY VELEZ ORTIZ Y                  44455         Commonwealth of Puerto Rico        Secured              Undetermined*   Commonwealth of Puerto Rico              Unsecured          $5,212.50
    JOSE MARTINEZ                                      Commonwealth of Puerto Rico        Unsecured               $5,212.50*
    RODRIGUEZ
    LCDA. AMELIA M.                                                                                 Subtotal      $5,212.50*
    CINTRON VELAZQUEZ
    URB. SAN ANTONIO 1939
    AVE. LAS AMERICAS
    PONCE, PR 00728-1815

    Reason: The claimant failed to provide prima facie evidence to support a secured claim. Accordingly, claim has been reclassified as a general unsecured claim. The Proof of Claim,
    documents attached to the Proof of Claim, and/or additional documentation received from the Claimant and/or the Puerto Rico Fiscal Agency and Financial Advisory Authority supports
    a total of $5,212.50 for the Claim, such amount fully liquidates the Claim.
3   DISTRIBUIDORA TITAN                 173972         Puerto Rico Public Buildings       503(b)(9)                  $645.48   Puerto Rico Public Buildings Authority   Unsecured           $645.48
    POWER                                              Authority (PBA)                                                         (PBA)
    1275 AVE JESUS T PINEIRO
    SAN JUAN, PR 00920

    Reason: Goods listed on claim were received outside of the prescribed 20-day receipt period under 11 U.S.C. § 503(b)(9) and thus not entitled to administrative priority. Accordingly,
    claim has been reclassified as a general unsecured claim in the amount of $645 .48.




    *Indicates claim contains unliquidated and/or undetermined amounts                                                                                                                 1
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                                                            Five Hundred Eighty-First Omnibus Objection
                                                          Exhibit A-1 - Claims to Be Reclassified and Allowed
                                                                                    ASSERTED                                                  MODIFIED AND ALLOWED

                                                                                       PRIORITY                                                                    PRIORITY
    NAME                         CLAIM #             DEBTOR                             STATUS         AMOUNT           DEBTOR                                      STATUS    AMOUNT

4   ELIEZER SANTANA BAEZ                 4252        Commonwealth of Puerto Rico        Secured            $2,000.00*   Commonwealth of Puerto Rico              Unsecured            $2,000.00
    CIVIL NUM.: DDP20140229
    ELIEZER SANTANA BAEZ
    INDUSTRIAL LUCHETTI
    50 CARR #5 UNIT 501 EDIF
    2J
    BAYAMÓN, PR 00961-7403

    Reason: The claimant failed to provide prima facie evidence to support a secured claim. Accordingly, claim has been reclassified as a general unsecured claim. The Proof of Claim,
    documents attached to the Proof of Claim, and/or additional documentation received from the Claimant and/or the Puerto Rico Fiscal Agency and Financial Advisory Authority supports
    a total of $2,000.00 for the Claim, such amount fully liquidates the Claim.
5   MARTÍNEZ MORÁN,                     38283        Puerto Rico Highways and           Secured            $7,500.00*   Puerto Rico Highways and                 Unsecured            $7,500.00
    MANUEL                                           Transportation Authority                                           Transportation Authority
    HC-01 BOX 4780
    CAMUY, PR 00627

    Reason: The claimant failed to provide prima facie evidence to support a secured claim. Accordingly, claim has been reclassified as a general unsecured claim. The Proof of Claim,
    documents attached to the Proof of Claim, and/or additional documentation received from the Claimant and/or the Puerto Rico Fiscal Agency and Financial Advisory Authority supports
    a total of $7,500.00 for the Claim, such amount fully liquidates the Claim.
6   MIGUEL A MIR Y                     173756        Puerto Rico Public Buildings       Secured            $15,455.50   Puerto Rico Public Buildings Authority   Unsecured           $15,455.50
    ASOCIADOS                                        Authority (PBA)                                                    (PBA)
    P.O. BOX 240
    TRUJILLO ALTO, PR 00977

    Reason: The claimant failed to provide prima facie evidence to support a secured claim. Accordingly, claim has been reclassified as a general unsecured claim in the amount of
    $15,455.50.




    *Indicates claim contains unliquidated and/or undetermined amounts                                                                                                           2
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                                                             Exhibit A Page 4 of 7
                                                             Five Hundred Eighty-First Omnibus Objection
                                                           Exhibit A-1 - Claims to Be Reclassified and Allowed
                                                                                     ASSERTED                                                     MODIFIED AND ALLOWED

                                                                                        PRIORITY                                                                  PRIORITY
    NAME                          CLAIM #             DEBTOR                             STATUS               AMOUNT          DEBTOR                               STATUS        AMOUNT

7   RODRIGUEZ FIGUEROA,                   6295         Commonwealth of Puerto Rico       503(b)(9)            Undetermined*   Commonwealth of Puerto Rico       Unsecured            $103,500.00
    FELIX                                              Commonwealth of Puerto Rico       Secured              Undetermined*
    6 CALLE ANTONIO CONDE
    ADJUNTAS, PR 00601                                                                             Subtotal   Undetermined*


    Reason: The claimant failed to provide prima facie evidence to support a secured claim. Accordingly, claim has been reclassified as a general unsecured claim. Claimant asserted
    administrative priority under 11 U.S.C. § 503(b)(9), but proof of claim is not for goods sold and as such claimant is not entitled to administrative priority. The Proof of Claim,
    documents attached to the Proof of Claim, and/or additional documentation received from the Claimant and/or the Puerto Rico Fiscal Agency and Financial Advisory Authority supports
    a total of $103,500.00 for the Claim, such amount fully liquidates the Claim.
8   SANTANA BAEZ, ELIEZER                 4245         Commonwealth of Puerto Rico       Secured                $75,000.00*   Commonwealth of Puerto Rico       Unsecured             $75,000.00
    PRO SE ELIEZER SANTANA
    BÁEZ
    50 CARR. 5 UNIDAD
    ANEXO 501 EDIF. 3
    J INDUSTRIAL LUCHETTI
    BAYAMÓN, PR 00961-7403

    Reason: The claimant failed to provide prima facie evidence to support a secured claim. Accordingly, claim has been reclassified as a general unsecured claim. The Proof of Claim,
    documents attached to the Proof of Claim, and/or additional documentation received from the Claimant and/or the Puerto Rico Fiscal Agency and Financial Advisory Authority supports
    a total of $75,000.00 for the Claim, such amount fully liquidates the Claim.
9   TAVAREZ GUZMAN,                      70356         Commonwealth of Puerto Rico       503(b)(9)              $39,914.50*   Commonwealth of Puerto Rico       Unsecured             $39,914.50
    WANDA I
    3407 CALLE MELODIA
    ISABELA, PR 00662

    Reason: Claimant asserted administrative priority under 11 U.S.C. § 503(b)(9), but proof of claim is not for goods sold and as such claimant is not entitled to administrative priority.
    The Proof of Claim, documents attached to the Proof of Claim, and/or additional documentation received from the Claimant and/or the Puerto Rico Fiscal Agency and Financial
    Advisory Authority supports a total of $39,914.50 for the Claim, such amount fully liquidates the Claim.




    *Indicates claim contains unliquidated and/or undetermined amounts                                                                                                                3
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                                                             Exhibit A Page 5 of 7
                                                             Five Hundred Eighty-First Omnibus Objection
                                                           Exhibit A-1 - Claims to Be Reclassified and Allowed
                                                                                     ASSERTED                                                MODIFIED AND ALLOWED

                                                                                        PRIORITY                                                             PRIORITY
     NAME                         CLAIM #             DEBTOR                             STATUS         AMOUNT           DEBTOR                               STATUS          AMOUNT

10   TECHNICAL POWER                     34362         Commonwealth of Puerto Rico       503(b)(9)             $550.00   Commonwealth of Puerto Rico       Unsecured                   $550.00
     SERVICES
     PO BOX 3826
     GUAYNABO, PR 00970

     Reason: Goods listed on claim were received outside of the prescribed 20-day receipt period under 11 U.S.C. § 503(b)(9) and thus not entitled to administrative priority. Accordingly,
     claim has been reclassified as a general unsecured claim in the amount of $550 .00.




     *Indicates claim contains unliquidated and/or undetermined amounts                                                                                                            4
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                                                            Exhibit A Page 6 of 7
                                                              Five Hundred Eighty-First Omnibus Objection
                                                            Exhibit A-2 Claims to Be Reclassified and Allowed
                                                                                    ASSERTED                                                     MODIFIED AND ALLOWED

                                                                                       PRIORITY                                                                  PRIORITY
    NAME                          CLAIM #             DEBTOR                            STATUS               AMOUNT          DEBTOR                               STATUS       AMOUNT

1   CARIBBEAN DATA SYSTEM               36199         Commonwealth of Puerto Rico       503(b)(9)               $15,566.00   Commonwealth of Puerto Rico       Unsecured            $14,676.00
    URB SAN PATRICIO
    636 AVE SAN PATRICIO
    SAN JUAN, PR 00920-4507

    Reason: Claimant asserted administrative priority under 11 U.S.C. §503(b)(9), but goods listed on proof of claim were received outside of the prescribed 20-day receipt period under 11
    U.S.C. §503(b)(9) and thus not entitled to administrative priority. Accordingly, claim has been reclassified as a general unsecured claim in the amount of $14 ,676.00, such amount fully
    liquidates the Claim.
    Claim #36199 also contained on Exhibit A to the 372nd Omnibus Claims Objection for Modified Claims
2   COMPUTER ACCESSORIES                146748        Commonwealth of Puerto Rico       503(b)(9)            Undetermined*   Commonwealth of Puerto Rico       Unsecured                $3,581.40
    DISCOUNT INC.                                     Commonwealth of Puerto Rico       Secured                $13,000.00*
    URB. MARIANI
    2326 CALLE DR.                                                                                Subtotal     $13,000.00*
    SANTAELLA
    PONCE, PR 00717-0210

    Reason: The claimant failed to provide prima facie evidence to support a secured claim. Additionally, claimant asserted administrative priority under 11 U.S.C. §503(b)(9), but goods
    listed on proof of claim were received outside of the prescribed 20-day receipt period under 11 U.S.C. §503(b)(9) and thus not entitled to administrative priority. Accordingly, claim has
    been reclassified as a general unsecured claim in the amount of $3 ,581.40, such amount fully liquidates the Claim.
    Claim #146748 also contained on Exhibit A to the 372nd Omnibus Claims Objection for Modified Claims
3   MECANICA TITO                       82686         Commonwealth of Puerto Rico       503(b)(9)              $13,572.00*   Commonwealth of Puerto Rico       Unsecured                $4,533.55
    JOSE R. GONZALEZ                                  Commonwealth of Puerto Rico       Secured              Undetermined*
    PO BOX 310
    CIALES, PR 00638                                                                              Subtotal     $13,572.00*


    Reason: The claimant failed to provide prima facie evidence to support a secured claim. Additionally, claimant asserted administrative priority under 11 U.S.C. §503(b)(9), but goods
    listed on proof of claim were received outside of the prescribed 20-day receipt period under 11 U.S.C. §503(b)(9) and thus not entitled to administrative priority. Accordingly, claim has
    been reclassified as a general unsecured claim in the amount of $4 ,533.55, such amount fully liquidates the Claim.
    Claim #82686 also contained on Exhibit A to the 391st Omnibus Claims Objection for Modified Claims




    *Indicates claim contains unliquidated and/or undetermined amounts                                                                                                              1
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                                                            Exhibit A Page 7 of 7
                                                             Five Hundred Eighty-First Omnibus Objection
                                                           Exhibit A-2 Claims to Be Reclassified and Allowed
                                                                                 ASSERTED                                                   MODIFIED AND ALLOWED

                                                                                     PRIORITY                                                                PRIORITY
    NAME                         CLAIM #             DEBTOR                           STATUS           AMOUNT           DEBTOR                                STATUS         AMOUNT

4   ROUBERT GONZALEZ,                   61473         Puerto Rico Highways and        Secured                $185.00*   Puerto Rico Highways and           Unsecured                  $185.00
    HECTOR A.                                         Transportation Authority                                          Transportation Authority
    BO BELGICA
    5220 CALLE CARACAS
    PONCE, PR 00717

    Reason: The claimant failed to provide prima facie evidence to support a secured claim. Accordingly, claim has been reclassified as a general unsecured claim in the amount of $185 .00,
    such amount fully liquidates the Claim.




    *Indicates claim contains unliquidated and/or undetermined amounts                                                                                                            2
